       Case 3:14-cv-01546-AWT Document 6 Filed 11/20/14 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

RITA CELONE UMILE

v.                                             CASE NO. 3:14 cv 1546 (AWT)

BENDER, ANDERSON AND BARBA, P.C.
RONALD J. BARBA



                         NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(l), plaintiffs hereby dismiss the within action without costs

or fees based on the parties’ settlement agreement.

                                               THE PLAINTIFFS




                                               BY____/s/ Joanne S. Faulkner___
                                               JOANNE S. FAULKNER ct04137
                                               123 Avon Street
                                               New Haven, CT 06511-2422
                                               (203) 772-0395


       Certificate of Service

       I hereby certify that on November 20, 2014, a copy of foregoing Notice of
Dismissal was filed electronically. Notice of this filing will be sent by e-mail to all parties
by operation of the Court’s electronic filing system. Parties may access this filing through
the Court’s system.

                                                    ____/s/ Joanne S. Faulkner___
                                               JOANNE S. FAULKNER ct04137
                                                    123 Avon Street
                                                    New Haven, CT 06511-2422
                                                    (203) 772 0395
                                                    j.faulkner@snet.net
